 Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 1 of 9




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. E~IBIT NO. 8
  Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 2 of 9




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: FEMA TRAILER                          *      CIVIL ACTION 2:07-MD-1873
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION
                                                    JUDGE ENGLEHARDT -DIV. N

                                                    MAGISTRATE ROBY - MAG. 4


                            DECLARATION OF KEVIN SOUZA

       I, Kevin Souza, state and declare as follows:

       I.     Until May 2008, I was the Acting Deputy Director of the Individual Assistance

Division of the Federal Emergency Management Agency (FEMA),,a component agency of the

Department of Homeland Security (DHS). As Acting Deputy Director, I managed and had

oversight responsibility for the Individual Assistance Division as authorized by the Robert T.

Stafford Disaster Relief and Emergency Assistance Act. As a result of my duties and

responsibilities at FEMA, I have personal knowledge concerning FEMA’s decision to provide

Emergency Housing Units ("EHUs") to Hurricanes Katrina and Rita disaster victims and

FEMA’s response to concerns that EHUs contain formaldehyde.

       2.      Hurricane Katrina made landfall on August 29, 2005, and on that same day,

President Bush declared that a Stafford Act disaster exists in the States of Louisiana, Mississippi,

and Alabama. The overall destruction wrought by Katrina vastly exceeded that of any other

major disaster that FEMA had previously responded to and resulted in well over a million people

being evacuated from impacted areas and destroyed or made uninhabitable hundreds of

thousands of homes, leaving hundreds of thousands of families homeless and without shelter.
    Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 3 of 9




       3.      On September 24, 2005, Hurricane Rita made landfall along the Texas -

Louisiana border and the President declared that a Stafford Act disaster exists in the States of

Louisiana and Texas. Rita destroyed and made uninhabitable thousands of more homes in Texas

and Louisiana, and forced the evacuation of many Katrina victims who had sought refuge in the

areas impacted by Rita.

       4.      Consistent with the Stafford Act, FEMA has provided.Individual Assistance to the

Hurricane Katrina and Rita disaster victims. FEMA administers four distinct Individual

Assistance Programs: (1) Individual and Household Assistance; (2) Crisis Counseling; (3)

Disaster Unemployment Assistance; and (4) Legal Services. The Individual and Household

Program (IHP) provides both housing assistance and other needs assistance, and IHP is the

primary mechanism to assist individuals and households recover from damages or losses

sustained as a direct result of a disaster. IHP assistance includes financial aid to repair and

replace property lost or destroyed, rental assistance to renters and homeowners whose homes are

uninhabitable, and When housing resources are not available within an affected area, diredt

assistance such as mobile homes and travel trailers.

       5.      Before Katrina made landfall, the Housing Area Command was activated mad

FEMA commenced planning to address potential shelter and housing shortfalls. The short-term

plan was to put displaced disaster victims into emergency shelters, hotels, motels, cruise ships,

tents, with friends and relatives, and any other available housing resources. Then, after initial

disaster response, transfer the disaster victims to EHUs, and as rebuilding and recovery efforts

progressed, transfer them from EHUs into more permanent housing.

       6.      The massive damage to housing stock in the Gulf Coast region created an urgent

and immediate need for an unprecedented number of temporary housing units. Initially, the plan

                                                 2
     Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 4 of 9




was to rely primarily on mobile homes and locate disaster victims in mobile home cities that

 contractors would set up throughout the Gulf Coast region. State and local officials objected to

this plan. They wanted a temporary emergency housing plan that placed disaster victims in, or as

 close as possible, to their devastated commm~ties to ensure political and social stability and

promote rebuilding and recovery efforts. In response to their concerns, FEMA modified its

 response plan and agreed to rely primarily upon travel trailers which could be placed in or closer

 to the devastated colmuunities.

        7.      To satisfy the unprecedented demand for temporary housing units, FEMA

 commenced purchasing EHUs, primarily travel trailers, but also park model trailers and mobile

 homes, soon after Hurricane Katrina made landfall. Ultimately FEMA spent more than $2.5

 billion dollars and purchased more than 140,000 new EHUs. These EHUs were purchased both

 °°off the lot" from existing inventories and directly from manufacturers. FEMA relied upon the

 vendors and manufacturers standard specifications to provide FEMA with safe habitable housing

 units, housing units that complied with industry standards and all applicable regulatory

¯ requirements. Since FEMA had previously relied upon EHUs to respond to disasters, FEMA

 purchased these EHUs believing that they would provide safe and habitable temporary

 emergency housing. 8.         FEMA relied upon its contractors to install, maintain, and retrieve

 EHUs from disaster victims. Initially, FEMA relied upon Individual Assistance/Technical

 Assistance Contractors (IA/TAC) to provide these services and then transitioned to Maintenance

 and Deactivation Contractors (MDC) and Group Site Maintenance Contractors. When an EHU

 was assigned to a household or individual disaster victim, a contractor retrieved the unit from a

 FEMA staging area, transported the unit to the installation site, and installed the unit. The

 contractors were also responsible for conducting scheduled maintenance and repairing the units

                                                 3
   Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 5 of 9




if something broke. When the disaster victim vacated the unit, the contractor was responsible for

retrieving the unit, deactivating the unit, and returning it to FEMA. These contractors have been

paid in excess of $3 billion to complete these tasks.

       9.        FEMA’s contractors started moving disaster victims from short-term shelters to

EHUs as soon as EHUs became available. Approximately 140,000 new EHUs were issued to

disaster victims and as the construction and rebuilding efforts has progressed the disaster victims

have been moved into more permanent long-term housing. Without EHUs, many, if not most,

disaster victims who returned to the devastated communities to rebuild would have had no place

to live.

           10. On or about March 2006, FEMA received the ftrst reported concerns of

formaldehyde fumes by a Gulf Coast trailer occupant and that occupant’s unit was switched out

and replaced with a different unit.

           11. On or about April or May 2006, FEMA learned that the Sierra Club had tested

trailers and detected formaldehyde in most of the tested units.

           12. In May 2006, a class action lawsuit was filed against the Government and EHU

Manufacturers.

           13. By mid-June 2006, FEMA had received notice that several trailer occupants in

 both Louisiana and Mississippi had complained about formaldehyde fumes in their trailer.

 Various response actions were considered, such as testing individual units and installing vent

 fans. Determining what action, if any, to take in response to these complaints involved

 assessment of numerous factors including, but not limited to (1) absence of any residential

 formaldehyde standards, (2) FEMA’s past history of successful use of trailers for temporary

 emergency housing, (3) EHUs at issue were almost all new, under warranty and purchased from

                                                  4
  Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 6 of 9




commercial vendors and manufacturers whose business involved sale and manufacture of safe,

habitable temporary housing units, (4) small number of formaldehyde complaints in comparison

to the total number of occupied EHUs, (5) the disruption and inconvenience to occupants, cost

and expense, and potential health and safety risks associated with requiring occupants to vacate

EHUs and move to distant hotels/motels or into temporary emergency shelters; and (6) risk that

testing individual occupied units and determining what actions to take in response to any such

test results - an ability and expertise FEMA did not possess - in absence of a residential

standard, would not provide a program-wide solution.

        14. In consideration of these and other factors FEMA made the decision to respond in

two ways. First, for occupants who expressed concerns and/or complained about formaldehyde

fumes, their complaints would be addressed on a case-by-case basis, and if further venting of the

unit failed to resolve their concern, an offer would be made to switch out the unit for an older

previously occupied unit. It was believed that the older previously occupied units should resolve

the occupant’s complaints and concern because the older units had not generated a complaint,

and as a result of its age and prior use would have lower formaldehyde levels. Second, to protect

persons who had not complained or expressed concern about formaldehyde fumes, FEMA

prepared and distributed a formaldehyde brochure to inform occupants about formaldehyde,

 potential health concerns associated with formaldehyde, actions occupants could take to reduce

 formaldehyde levels in their EHU, and to encourage occupants to consult their medical care

 provider if they had health concerns. Further, FEMA initiated a study to investigate the

 effectiveness of various methods of ventilation to determine whether or not a potential program-

 wide engineering solution could be identified that would effectively reduce formaldehyde levels

 in EHUs. To implement these decisions, trailers were set aside at one of the FEMA staging

                                                5
  Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 7 of 9




areas, on or about July 2006, FEMA commenced distribution of a formaldehyde brochure to

trailer occupants, and in, September 2006, at FEMA initiated a study to determine the

effectiveness of ventilation. The document assigned numbers FEMA08-000013- to FEMA08-

000014 is a true and accurate copy of the formaldehyde brochure issued to trailer occupants on

or about July 2006.

       15. Because FEMA lacked the expertise to test and determine the effectiveness of

ventilation in reducing formaldehyde levels in trailers, FEMA relied upon the Environmental

Protection Agency and the Center for Disease Control, Agency for Toxic Substances and Disease

Registry to conduct that investigation. In February 2007, ATSDR issued a report and advised

FEMA that the tests showed that ventilation reduced the formaldehyde levels to below 0.3 parts

per million, a concentration level that ATSDR identified as a level of concern for sensitive.

individuals.

       16. By July 2007, as additional reports and information had become available, FEMA

became concerned that its response may not be sufficiently protective and further actions were

tal~en. FEMA established a dedicated formaldehyde call center to answer occupant questions

about formaldehyde and to assist occupants dissatisfied with their EHU in finding alternate

housing. Since July 2007, FEMA has offered to move to alternate housing any occupant who

calls the formaldehyde hotline. FEMA also prepared and distributed to EHU occupants a

Formaldehyde Fact Sheet and engaged ATSDR to test occupied units for formaldehyde and

conduct a public health assessment based upon that data. The document assigned identification

numbers FEMA08-000015 is a true and accurate copy of that Formaldehyde Fact Sheet. Further,

FEMA modified its travel trailer specifications for future purchases to require manufacturers to

use low emission materials, and also suspended the sale of trailers.

                                                6
   Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 8 of 9




       17. ATSDR commenced testing occupied trailers in December 2007, and reported the

initial findings of that testing in February of this year. In consideration of ATSDR’s initial

findings, FEMA further modified its response. FEMA has continued its ongoing effort to

relocate occupants to permanent housing as rapidly as possible, and, based upon ATSDR’s initial

findings, FEMA provides priority relocation to occupants who express health concerns and/or

may be more susceptible to formaldehyde fumes such as the elderly, households with young

children and those with respiratory problems. FEMA and CDC also prepared a Flyer detailing

CDC’s initial findings and distributed it to all trailer occupants. The document assigned

identification numbers FEMA08-000011 to FEMA08-000012 and FEMA08-000016 to

FEMA09-000017 is a true and accurate copy of the English and Spanish version of the Flyer. In

addition, FEMA has hired a contractor to test occupied units, and offered to test any occupant’s

unit for formaldehyde.

        18. Hurricanes Katrina and Rita caused ccatastrophic damage to the Gulf Coast

region, and it required a massive and unprecedented response. The magnitude of the disaster and

its unprecedented catastrophic effects required FEMA to provide EHUs in numbers that dwarf

any previous disaster response. Time, infrastructure, and resource limitations provided few, if

any, alternatives to using EHUs to provide temporary emergency housing for the disaster victims

in impacted areas. Given FEMA’s prior successful use of EHUs, we did not anticipate that

formaldehyde fumes in the EHUs would be an issue of concern, and as formaldehyde fumes

were eventually identified as an issue of concern we thought that better ventilation of units by

o.ccupants would effectively mitigate the problem.

        19. Since FEMA first became aware that formaldehyde was an issue of concern in the

trailers, it has responded in the manner that seemed appropriate to protect occupants and comply

                                                 7
   Case 2:07-md-01873-KDE-MBN Document 196-11 Filed 05/18/08 Page 9 of 9




with its regulations that instruct FEMA to determine the appropriate types of housing assistance

based upon various considerations including, but not limited to cost-effectiveness, convenience

to the individuals and households, and the suitability and availability of the types of assistance.

       Pursuant to 28 USC §1746, I declare under penalty of perjury that the foregoing is tree

and correct. Executed on this /~i~day of 1~o~)1 og.



                                             DHS/FEMA
